Case 2:85-cv-04544-DMG-AGR Document 574 Filed 06/27/19 Page 1 of 7 Page ID #:29507



 1   JOSEPH H. HUNT
 2   Assistant Attorney General
     Civil Division
 3   WILLIAM C. PEACHEY
 4   Director, District Court Section
     Office of Immigration Litigation
 5   WILLIAM C. SILVIS
 6   Assistant Director, District Court Section
     Office of Immigration Litigation
 7   SARAH B. FABIAN
 8
     Senior Litigation Counsel, District Court Section
     Office of Immigration Litigation
 9         P.O. Box 868, Ben Franklin Station
10
           Washington, D.C. 20044
           Tel: (202) 532-4824
11         Fax: (202) 305-7000
12
           Email: sarah.b.fabian@usdoj.gov

13   Attorneys for Defendants
14
                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16   JENNY LISETTE FLORES; et al.,             Case No. CV 85-4544-DMG
17
              Plaintiffs,
18
                                               RESPONSE TO PLAINTIFFS’
19
                   v.                          REQUEST FOR A TEMPORARY
                                               RESTRAINING ORDER
20   WILLIAM P. BARR, Attorney
21
     General of the United States; et al.,

22
              Defendants.
23

24

25

26
Case 2:85-cv-04544-DMG-AGR Document 574 Filed 06/27/19 Page 2 of 7 Page ID #:29508



 1
             I.   INTRODUCTION
 2
           On June 26, 2019, Plaintiffs filed an ex parte application seeking a
 3

 4   temporary restraining order (“TRO”) against the government. In accordance with

 5   the Court’s Procedures regarding ex parte applications, Defendants hereby file this
 6
     response within 24 hours to raise for the Court their initial opposition points to
 7

 8
     Plaintiffs’ TRO request.

 9         Plaintiffs ask this Court to order injunctive relief that goes beyond simply
10
     ordering that Defendants comply with the plain terms of the Flores Settlement
11

12
     Agreement (“Agreement”). The relief sought would impose extensive obligations—

13   including sanctions—on the government. Such relief is not appropriately sought
14
     through a TRO. Moreover, in seeking relief through sanctions and the imposition of
15
     extensive obligations on the government, Plaintiffs must establish their claims by
16

17   clear and convincing evidence. In light of the expanded relief sought by Plaintiffs,
18
     and the exacting burden Plaintiffs must meet to obtain such relief, Defendants should
19
     be provided an opportunity to fully review and respond to the extensive briefing and
20

21   evidence that Plaintiffs have filed with this Court before the Court rules. Therefore,
22
     Defendants request that the Court deny the TRO, and set a schedule for briefing
23
     these issues that provides Defendants with a full and fair opportunity to respond to
24

25   the allegations that Plaintiffs have lodged against them. In the alternative, to allow
26
     for expeditious consideration of the concerns raised in Plaintiffs’ application related
Case 2:85-cv-04544-DMG-AGR Document 574 Filed 06/27/19 Page 3 of 7 Page ID #:29509



 1   to the Rio Grande Valley and El Paso Border Patrol Stations, Defendants are willing
 2
     to agree to an expedited mediation process to address these concerns in front of the
 3

 4   Flores Special Master.

 5          II.   ARGUMENT
 6
           Plaintiffs seek a TRO from this Court requiring:
 7

 8
           (1) an immediate inspection of all CBP Facilities [in the El Paso and
           Rio Grande Valley Border Patrol Sectors] by a public health expert
 9         authorized to mandate a remediation plan that Defendants must
10
           follow to make these facilities safe and sanitary, (2) immediate
           access to the Facilities by independent medical professionals
11         appointed by Plaintiffs’ class counsel or the Court-appointed Special
12
           Master who can assess the medical needs of the children and triage
           appropriately, and [sic] (3) deployment of an intensive case
13         management team to focus on expediting the release of Category 1
           and Category 2 children (as classified in The Trafficking Victims
14
           Protection Reauthorization Act) to alleviate the backlog caused by
15         the inadequate Office of Refugee Replacement placement array, and
           (4) [] an Order finding Defendants in contempt of Court, with a
16
           suitable and appropriate remedy to be determined by the Court.
17
     Proposed Order, ECF No. 572-6.
18
           A TRO should not issue here, because this is not the type of request for which
19

20   a TRO is appropriately sought. The purpose of a TRO is to preserve the status quo
21
     before a preliminary injunction hearing may be held. See Granny Goose Foods, Inc.
22
     v. Teamsters, 415 U.S. 423, 438–39 (1974) (noting that TROs “should be restricted
23

24   to serving their underlying purpose of preserving the status quo and preventing
25
     irreparable harm just so long as is necessary to hold a hearing, and no longer”); see
26
     also Reno Air Racing Ass’n., Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006)
Case 2:85-cv-04544-DMG-AGR Document 574 Filed 06/27/19 Page 4 of 7 Page ID #:29510



 1   (noting that “courts have recognized very few circumstances justifying the issuance
 2
     of an ex parte TRO”). Here, Plaintiffs seek to alter – not preserve – the status quo.
 3

 4   For example, Plaintiffs’ proposed remedies would require CBP to alter operations to

 5   allow for the inspections Plaintiffs are seeking, and then to potentially comply with
 6
     a “remediation plan.” Likewise, the request to “deploy” an “intensive case
 7

 8
     management team to focus on expediting the release of Category 1 and Category 2

 9   children,” goes beyond the status quo, and appears to impose remedies on the Office
10
     of Refugee Resettlement (“ORR”) when no allegations against ORR are included in
11

12
     the memorandum of points and authorities. Plaintiffs moreover ask the Court to

13   impose these substantial obligations on Defendants before Defendants have any
14
     chance to respond to their allegations or obtain a full and fair adjudication of the
15
     claims before the Court. Because Plaintiffs are seeking relief that is not appropriately
16

17   sought through a TRO, the Court should deny Plaintiffs’ request.
18
           Further, Plaintiffs’ TRO request is far more than a simple motion to enforce
19
     the terms of the Agreement, and it seeks relief beyond what is available under the
20

21   Agreement. Plaintiffs ask the Court to order coercive remedies. Even if the Court
22
     does have the authority to order the remedies that Plaintiffs seek, which Defendants
23
     reserve the right to dispute, the Court’s only power to order Defendants to take
24

25   actions such as these that go far beyond the scope of the Agreement is based on the
26
     Court’s inherent powers to enforce the Agreement and its own orders. Plaintiffs also
Case 2:85-cv-04544-DMG-AGR Document 574 Filed 06/27/19 Page 5 of 7 Page ID #:29511



 1   explicitly seek sanctions against Defendants. Requests for coercive remedies and
 2
     sanctions such as the ones made by Plaintiffs fall under the framework of a civil
 3

 4   contempt proceeding, requiring Plaintiffs to bear the burden of proof by clear and

 5   convincing evidence. See Bailey v. Roob, 567 F.3d 930, 934-35 (7th Cir. 2009) (“The
 6
     parties agree that this circuit’s case law requires the party seeking sanctions to
 7

 8
     demonstrate that the opposing party is in violation of a court order by clear and

 9   convincing evidence.”); Kelly v. Wengler, 822 F.3d 1085, 1097 (9th Cir. 2016)
10
     (discussing how court-ordered remedies designed to ensure compliance with a
11

12
     settlement agreement, and to cure breach, are properly considered under civil

13   contempt standards). Given Plaintiffs’ heavy burden of proof, the Court should
14
     decline to reach any conclusions as to Plaintiffs’ allegations without affording the
15
     government a full and fair opportunity to reply to the allegations that Plaintiffs have
16

17   lodged against them. A TRO does not provide such an opportunity, and is not the
18
     appropriate avenue for Plaintiffs to seek the relief they are requesting, and the Court
19
     should deny this request.
20

21         III.   CONCLUSION
22
           For the foregoing reasons, Defendants request that the Court deny the TRO,
23
     and set a schedule for briefing these issues that provides Defendants with a full and
24

25   fair opportunity to respond to the allegations that Plaintiffs have lodged against
26
     them. In the alternative, to allow for expeditious consideration of the concerns raised
Case 2:85-cv-04544-DMG-AGR Document 574 Filed 06/27/19 Page 6 of 7 Page ID #:29512



 1   in Plaintiffs’ application, the Court should order the parties to engage in an expedited
 2
     mediation process in front of the Flores Special Master to address these concerns.
 3

 4   DATED: June 27, 2019                    JOSEPH H. HUNT
                                             Acting Assistant Attorney General
 5                                           Civil Division
 6
                                             WILLIAM PEACHEY
 7                                           Director, District Court Section
 8
                                             Office of Immigration Litigation

 9                                           WILLIAM SILVIS
10
                                             Assistant Director, District Court Section
                                             Office of Immigration Litigation
11

12
                                             /s/ Sarah B. Fabian
                                             SARAH B. FABIAN
13                                           Senior Litigation Counsel
                                             Office of Immigration Litigation
14
                                             District Court Section
15                                           P.O. Box 868, Ben Franklin Station
                                             Washington, D.C. 20044
16
                                             Tel: (202) 532-4824
17                                           Fax: (202) 305-7000
                                             Email: sarah.b.fabian@usdoj.gov
18

19                                           Attorneys for Defendants
20

21

22

23

24

25

26
Case 2:85-cv-04544-DMG-AGR Document 574 Filed 06/27/19 Page 7 of 7 Page ID #:29513



 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on June 27, 2019, I served the foregoing pleading on all

 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7
                                                  /s/ Sarah B. Fabian
 8                                                SARAH B. FABIAN
 9
                                                  U.S. Department of Justice
                                                  District Court Section
10                                                Office of Immigration Litigation
11
                                                  Attorney for Defendants
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
